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                                      Exhibit A

                                   Proposed Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                             Chapter 11

AMYRIS, INC., et al.,                                              Case No. 23-11131 (TMH)

                                   Debtors.1                       (Jointly Administered)
                                                                   Ref. Docket No. ____

                            ORDER (I) AUTHORIZING
                    THE RETENTION AND EMPLOYMENT
                  OF INTREPID INVESTMENT BANKERS LLC
                AS INVESTMENT BANKER FOR THE DEBTORS
                AND DEBTORS IN POSSESSION, PURSUANT TO
             11 U.S.C. §§ 327(A) AND 328, NUNC PRO TUNC TO THE
          PETITION DATE; (II) WAIVING CERTAIN REQUIREMENTS
    IMPOSED BY LOCAL RULE 2016-2; AND (III) GRANTING RELATED RELIEF

                 Upon the application (the “Application”)2 of the debtors in the above-captioned

chapter 11 cases (collectively, the “Debtors”), pursuant to sections 327(a) and 328(a) of title 11 of

the United States Code (the “Bankruptcy Code”), Rule 2014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”) for: (i) authority to employ and retain Intrepid Investment Bankers LLC (“Intrepid”) as

investment banker to the Debtors in these Chapter 11 Cases, nunc pro tunc to the Petition Date,

pursuant to the terms of the Engagement Agreement; and (ii) a waiver of certain requirements of

Local Rule 2016-2 and excusing compliance with certain U.S. Trustee Guidelines, all as more fully

set forth in the Application; and upon consideration of the First Day Declaration and the Beers


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    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
    Application.


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Declaration; and the United States District Court for the District of Delaware having jurisdiction

over this matter pursuant to 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C.

§ 157 pursuant to the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012; and the Court having found that this is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that the Court may enter a final order

consistent with Article III of the United States Constitution; and the Court having found that venue

of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and due and proper notice of the Application having been provided to the parties listed therein,

and no other or further notice need be provided; and this Court being satisfied that Intrepid has the

capability and experience to provide the services described in the Application and that Intrepid

does not hold an interest adverse to the Debtors or the estates respecting the matters upon which it

is to be engaged; and having found that the relief requested in the Application is in the best interests

of the Debtors, their estates, their creditors, and other parties in interest; and after due deliberation

thereon; and good and sufficient cause appearing therefor;

                 IT IS HEREBY ORDERED THAT:

                 1.          The Application is GRANTED as set forth herein.

                 2.          The Debtors are authorized to retain and employ Intrepid as investment

banker to the Debtors in these Chapter 11 Cases, pursuant to sections 327(a) and 328(a) of the

Bankruptcy Code, nunc pro tunc to the Petition Date, pursuant to the terms and conditions set forth

in the Engagement Agreement and this Order.

                 3.          Except to the extent set forth herein, the Engagement Agreement (together

with all exhibits thereto), including without limitation the Fee and Expense Structure, is approved

pursuant to sections 327(a) and 328(a) of the Bankruptcy Code, and the Debtors are authorized



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and directed to perform their payment, reimbursement, contribution, and indemnification

obligations and their non-monetary obligations in accordance with the terms and conditions, and

at the times specified, in the Engagement Agreement.

                 4.          Intrepid’s fees in these Chapter 11 Cases, including the Monthly Advisory

Fee, the Sale Transaction Fee, the Financing Transaction Fee, and the Restructuring Transaction

Fee, are hereby approved pursuant to section 328(a) of the Bankruptcy Code. The fees and

expenses payable to Intrepid pursuant to the Engagement Agreement and this Order shall be

subject to review only pursuant to the standards set forth in section 328(a) of the Bankruptcy Code

and shall not be subject to the standard of review set forth in section 330 of the Bankruptcy Code.

Notwithstanding anything to the contrary herein, the U.S. Trustee shall have the right to object to

Intrepid’s requests for interim and final compensation and reimbursement based on the

reasonableness standard provided in section 330 of the Bankruptcy Code, not section 328(a) of the

Bankruptcy Code; provided that “reasonableness” shall be evaluated by comparing (among other

things) the fees payable in the case to the fees paid to comparable investment banking firms with

similar experience and reputation offering comparable services in other chapter 11 cases and shall

not be evaluated primarily on an hourly or length-of-case based criteria. This Order shall not

prejudice or otherwise affect the rights of the U.S. Trustee to challenge the reasonableness of

Intrepid’s fees under the standard set forth in the preceding sentence. Accordingly, nothing in this

Order or the record shall constitute a finding of fact or conclusion of law binding the U.S. Trustee

with respect to the reasonableness of Intrepid’s fees and expenses.

                 5.          Intrepid shall file interim and final fee applications for the allowance of

compensation and reimbursement of expenses pursuant to the procedures set forth in sections 330

and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other applicable



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procedures and orders of this Court; provided that the requirements of the Bankruptcy Code, the

Bankruptcy Rules, and Local Rule 2016-2 are hereby modified such that: (i) Intrepid’s investment

banking professionals shall only be required to maintain summary records in half-hour (.50)

increments describing each professional’s tasks on a daily basis in support of each fee application,

including reasonably detailed descriptions of those services and the individuals who provided

those services, and shall not be required to keep time records on a “project category” basis, and

will present such records to this Court; and (ii) Intrepid’s non-investment banking professionals

shall not be required to maintain time records.

                 6.          Notwithstanding anything to the contrary in the Application or any of its

attachments, no amounts shall be paid to Intrepid absent an order of this Court approving a fee

application filed on notice to parties in interest in these Chapter 11 Cases under the procedures set

forth in any order establishing procedures for compensation and reimbursement of expenses of

professionals, except that the Debtors are authorized to pay the Monthly Advisory Fee to Intrepid

each month when required under the Engagement Agreement without a prior fee statement or

application, provided that Intrepid shall file interim fee applications with time entries and requests

for reimbursement that comply with the Local Rules, except as otherwise expressly set forth in

this Order, pursuant to the deadlines and other procedures set forth in any order establishing

procedures for compensation and reimbursement of expenses of professionals.

                 7.          In the event that Intrepid seeks reimbursement from the Debtors for

attorneys’ fees and expenses pursuant to the Application, the Engagement Agreement, and this

Order, the invoices and supporting time records for the attorneys’ fees and expenses shall be

included in Intrepid’s own applications, both interim and final, and these invoices and time records

shall be subject to the approval of this Court pursuant to sections 330 and 331 of the Bankruptcy



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Code without regard to whether such attorneys have been retained under section 327 of the

Bankruptcy Code, and without regard to whether such attorneys’ services satisfy section

330(a)(3)(C) of the Bankruptcy Code. Notwithstanding the foregoing, Intrepid shall only be

reimbursed for any legal fees incurred in connection with these Chapter 11 Cases to the extent

permitted under applicable law and the decisions of this Court.

                 8.          The indemnification, contribution, reimbursement, and related provisions

set forth in Exhibit B to the Engagement Agreement are approved, subject during the pendency of

these Chapter 11 Cases to the following modifications:

                 a.          No Indemnified Party (as that term is defined in Exhibit B to the
                             Engagement Agreement) shall be entitled to indemnification, contribution,
                             or reimbursement for services other than the services provided under the
                             Engagement Agreement, unless such services and the indemnification,
                             contribution, or reimbursement therefor are approved by the Court.

                 b.          Notwithstanding anything to the contrary in the Engagement Agreement,
                             the Debtors shall have no obligation to indemnify an Indemnified Party, or
                             provide contribution or reimbursement to an Indemnified Party, for: (i) any
                             claim or expense to the extent that it is either judicially determined (the
                             determination having become final) to have arisen from such Indemnified
                             Party’s gross negligence, bad faith, or willful misconduct; (ii) for a
                             contractual dispute in which the Debtors allege the breach of Intrepid’s or
                             another Indemnified Party’s contractual obligations unless this Court
                             determines that indemnification, contribution, or reimbursement would be
                             permissible pursuant to In re United Artist Theatre Co., 315 F.3d 217 (3d
                             Cir. 2003); or (iii) for any claims or expense that is settled prior to judicial
                             determination as to the exclusions set forth in clauses (i) and (ii), but
                             determined by this Court, after notice and a hearing, to be a claim or expense
                             for which such Indemnified Party should not receive indemnity,
                             contribution, or reimbursement under the terms of the Engagement
                             Agreement, as modified herein; and

                 c.          If, before the earlier of: (i) the entry of an order confirming a chapter 11
                             plan in these Chapter 11 Cases (that order having become a final order no
                             longer subject to appeal); and (ii) the entry of an order closing these Chapter
                             11 Cases, Intrepid believes that it is entitled to payment of any amounts by
                             the Debtors on account of the Debtors’ indemnification, contribution, or
                             reimbursement obligations under the Engagement Agreement, as modified
                             by this Order, including, without limitation, the advancement of defense
                             costs, Intrepid must file an application with this Court, and the Debtors may

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                             not pay any such amounts to Intrepid before the entry of an order by this
                             Court approving the payment. This paragraph (c) is intended only to specify
                             the period of time under which this Court shall have jurisdiction over any
                             request for payment by Intrepid for indemnification, contribution, or
                             reimbursement, and not a provision limiting the duration of the Debtors’
                             obligation to indemnify Intrepid. All parties in interest shall retain the right
                             to object to any demand for indemnification, contribution, or
                             reimbursement by Intrepid under the respective standards set forth above.

                 9.          Intrepid shall: (i) to the extent that Intrepid uses the services of independent

contractors or subcontractors (collectively, the “Contractors”) in these Chapter 11 Cases, pass

through the cost of such Contractors to the Debtors at the same rate that Intrepid pays the

Contractors; and (ii) seek reimbursement for actual costs only. The Debtors shall ensure that the

Contractors are subject to the same conflicts checks as required for Intrepid and file with this Court

such disclosures required by Bankruptcy Rule 2014.

                 10.         Notwithstanding any provision in the Bankruptcy Rules to the contrary, this

Order shall be effective and enforceable immediately upon entry hereof.

                 11.         Intrepid shall use its best efforts to avoid any duplication of services

provided by any of the Debtors’ other retained professionals in these Chapter 11 Cases.

                 12.         In the event of any inconsistency between the Engagement Agreement, the

Application, and this Order, this Order shall govern.

                 13.         The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

                 14.         Notwithstanding any term in the Engagement Agreement to the contrary,

this Court shall retain jurisdiction with respect to all matters arising from or related to the

implementation, interpretation, or enforcement of this Order.




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